Case 1:20-cv-24959-CMA Document 1 Entered on FLSD Docket 12/03/2020 Page 1 of 16




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                               CASE NO.:

  AISHIA PETERSEN,

         Plaintiff,

  v.

  ZUMIEZ INC.,

        Defendant.
  __________________________________/

                              COMPLAINT FOR INJUNCTIVE RELIEF

         COMES NOW, Plaintiff Aishia Petersen (“Plaintiff “or “Petersen”), by and through

  undersigned counsel, files this Complaint and sues Defendant, ZUMIEZ INC, for Permanent

  Injunctive Relief pursuant to Title III of the Americans with Disabilities Act of 1990, as amended, 42

  U.S.C. §§s 12181-12189 (“ADA”), 28 U.S.C. §2201 and 2202 as well as 28 CFR Part 36

  Regulations. Plaintiff state as follows:

                                             INTRODUCTION

         1. This Court has jurisdiction over this case based on federal question jurisdiction, as

  provided in 28 U.S.C. §1331 and the provisions of the Americans with Disabilities Act, (hereinafter,

  “ADA”).

         2. Plaintiff is a visually impaired and legally blind person (disabled) who requires assistance

  through screen-reading to navigate and communicate with business through the internet and its

  innumerous applications using her browser in her mobile phone. Plaintiff uses the term “blind” or

  “visually impaired” as legally blind. Disable as defined by ADA and Amendment acts of 2008, 42

  USC §12101 (ADAAA).




                                                  1
Case 1:20-cv-24959-CMA Document 1 Entered on FLSD Docket 12/03/2020 Page 2 of 16




         3. Plaintiff brings this action against Defendant for providing a digital business mobile

  application (running on mobile devices such as iPhone) that is not fully accessible usable by visually

  impaired consumers. The mobile application at issue is available to customers for download on

  customers mobile phones (“mobile app”).

         4. Defendant developed the mobile app and had an option during development to make fully

  accessible to screen-readers, but opted not to do so. Accessibility is an optional feature in mobile app

  development. iPhone (Apple) platform offers developers accessibility tools to aid them in creating an

  accessible user experience for all users, including those with a disability or impairment.

         5. The Defendant distributes its mobile application to millions of customers through their

  phone in the App store for iPhones.

         6. Defendant offers its mobile app to the general public from which it sells a variety of

  fashion clothing, shoes and accessories. Consumers require the ability to purchase goods and

  services anytime and from anywhere, even on the go. Defendant’s mobile app allows mobile device

  users to shop on a mobile platform through an internet connection to Wi-Fi or cellular data so that

  users can make purchases, locate stores, and explore product offerings on the go.

         7. Defendant has subjected itself to the ADA because Defendant’s app is offered as a tool to

  communicate between the business and consumers to sell its products from its brick and mortar

  stores, which are places of public accommodation. As a result, the app must interact with

  Defendant’s stores and the public, and in doing so must comply with the ADA, which means it must

  not discriminate against individuals with disabilities and may not deny full and equal enjoyment of

  the goods and services afforded to the general public.




                                                   2
Case 1:20-cv-24959-CMA Document 1 Entered on FLSD Docket 12/03/2020 Page 3 of 16




         8. In the statutory text, Congress determined that "individuals with disabilities continually

  encounter various forms of discrimination," including "communication barriers". 42 U.S.C. §

  12182(a).

         9. Blind and visually impaired consumers must use the assistive technology on the mobile

  phone to access business mobile app content. The mobile app must be designed and programmed to

  work with the assistive Accessibility feature available on the Apple iPhones, and Android phone

  (Google and Samsung). Defendant’s mobile application, however, contains digital barriers which

  limit the ability of blind and visually impaired consumers to access it.

         10. Defendant’s mobile application is not fully or equally accessible to blind or visually

  impaired consumers in violation of the “ADA.” As a result, Plaintiff seeks a permanent injunction to

  cause a change in ZUMIEZ, INC. (“Defendant” or “ZUMIEZ”) policies, practices and procedures so

  that Defendant’s mobile application will become, and remain, accessible to blind. Plaintiff seeks

  injunctive relief, attorneys’ fees and costs, including, but not limited to, court costs and expert fees,

  pursuant to Title III of the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§s

  12181-12189 (“ADA”) and 42 U.S.C. 2000a-3(a). See also 28 U.S.C. 2201 and 2202 as well as ADA

  28 CFR Part 36 Regulations.

         11. Throughout the ADA, "auxiliary aids and services" refers to techniques and devices to

  overcome barriers in communicating with people who have visual and hearing impairments, among

  other things. See 42 U.S.C. 12103(1).

         12. Implementing these provisions, see 42 U.S.C. § 12186(b), the Attorney General's Title III

  regulations require public accommodations to "furnish appropriate auxiliary aids and services where

  necessary to ensure effective communication with individuals with disabilities." 28 C.F.R. §

  36.303(c)(1). The regulations specifically list "screen reader software," "magnification software,"




                                                   3
Case 1:20-cv-24959-CMA Document 1 Entered on FLSD Docket 12/03/2020 Page 4 of 16




  and "accessible electronic and information technology" as among the auxiliary aids that the statute

  requires. 28 C.F.R. § 36.303(b)(2).

          13. Plaintiff is sui juris, and he is disabled as defined by the ADA and ADA Amendments

  Act of 2008, 42 U.S.C. §12101 (“ADAAA”). Defendant’s failure to design, construct, maintain, and

  operate its mobile application to be fully and equally accessible to and independently usable by

  Plaintiff, constitutes in Defendant’s denial of full and equal access to its mobile app, and therefore

  denial of its products and services offered thereby in conjunction with its physical location(s),

  resulting in a violation of Plaintiff’s rights under the Americans with Disabilities Act (“ADA”).

          14. Defendant owns and operates the mobile e-commerce application and several ZUMIEZ’s

  stores that are located in Florida.

          15. This case arises out of the fact that Defendant ZUMIEZ has operated its business in a

  manner and way that effectively excluding individuals who are visually impaired from access to

  Defendant mobile e-commerce application based upon Defendant’s failure to provide auxiliary aids

  and services for effective communications.

          16. Plaintiff seeks injunctive relief pursuant to 28 U.S.C. §§ 2201 and 2202.

          17. Plaintiff, a legally blind person, is impeded to access and communicate with Defendant

  effectively and timely such that allowing access to Defendant’s various business locations; as such

  impediment as rendered Defendant’s physical places of accommodation not fully accessible to the

  visually impaired.

          18. Plaintiff has downloaded and attempted to patronize Defendant’s mobile application in

  the past and intends to continue to make further attempts to patronize Defendant’s mobile app.

  Plaintiff would like to pre-shop Defendant’s merchandise and learn about sales or discounts before

  going to Defendant’s brick and mortar location. However, unless Defendant is required to eliminate




                                                   4
Case 1:20-cv-24959-CMA Document 1 Entered on FLSD Docket 12/03/2020 Page 5 of 16




  the access barriers at issue and required to change its policies so that access barriers do not reoccur

  on Defendant’s app, Plaintiff will continue to be denied full and equal access to the app as described

  and will be deterred from fully using Defendant’s app or shopping at the physical locations.

           19. Plaintiff continues to attempt to utilize the Defendant’s mobile app and plans to continue

  to attempt to utilize the app in the near future for upcoming holidays and general purchase.

           20. Plaintiff has suffered, and continues to suffer, frustration and humiliation as the result of

  the discriminatory conditions present at Defendant’s mobile application. By continuing to operate its

  mobile app with discriminatory conditions, Defendant contributes to Plaintiff’s sense of isolation and

  segregation and deprives Plaintiff the full and equal enjoyment of the goods, services, facilities,

  privileges and/or accommodations available to the general public. Plaintiff is deprived of the

  meaningful choice of freely visiting and utilizing the same accommodations readily available to the

  general public and is deterred and discouraged from doing so. By maintaining an app with violations,

  Defendant deprives Plaintiff the equality of opportunity offered to the general public.

           21. Plaintiff has suffered and will continue to suffer direct and indirect injury as a result of

  the Defendant’s discrimination until the Defendant is compelled to comply with the requirements of

  the ADA.

           22. However, unless Defendant is required to eliminate the access barriers at issue and

  required to change its policies so that access barriers do not reoccur on Defendant’s mobile e-

  commerce application, Plaintiff will continue to be denied full access and discriminated.

                                      JURISDICTION AND VENUE

           23. This Court has federal question jurisdiction pursuant to 28 U.S.C. §1331 and 42 U.S.C. §

  12188.




                                                     5
Case 1:20-cv-24959-CMA Document 1 Entered on FLSD Docket 12/03/2020 Page 6 of 16




         24. Plaintiff’s claims asserted herein arose in this judicial district and Defendant does

  substantial business in this judicial district where it has multiple physical locations.

         25. Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(1) and (2) in that this is

  the judicial district in which Defendant resides, and in which a substantial part of the acts and

  omissions giving rise to the claims occurred.

         26. Defendant is subject to personal jurisdiction in this District. Defendant has been and is

  committing the acts or omissions alleged herein in the Southern District of Florida that caused injury,

  and violated rights prescribed by the ADA to Plaintiff. This Court has personal jurisdiction over

  ZUMIEZ, pursuant to, inter alia, Florida’s long arm statute F.S. § 48.193, a substantial part of the

  acts and omissions giving rise to Plaintiff’s claims occurred in the Southern District of Florida.

  Specifically, on several separate occasions, Plaintiff has been denied the full use and enjoyment of

  the facilities, goods, and services of Defendant’s mobile app in Florida. The access barriers Plaintiff

  encountered on Defendant’s mobile app have caused a denial of Plaintiff’s full and equal access

  multiple times in the past, and now deter Plaintiff on a regular basis from accessing Defendant’s

  mobile app. Plaintiff would like to become Defendant’s patron and access the Defendant’s mobile

  app in the near future but the barriers Plaintiff encountered on Defendant’s mobile app have impeded

  Plaintiff’s full and equal enjoyment of goods and services offered at Defendant’s brick-and mortar

  stores. Defendant ZUMIEZ is authorized to conduct, and is conducting, business within the State of

  Florida and within the jurisdiction of this court.

                                                  PARTIES

  27. Plaintiff, Aishia Petersen, is and, at all times relevant hereto, is an Orlando, Florida resident.

  Plaintiff is and, at all times relevant hereto, has been legally blind and is therefore a member of a




                                                       6
Case 1:20-cv-24959-CMA Document 1 Entered on FLSD Docket 12/03/2020 Page 7 of 16




  protected class under the ADA, 42 U.S.C. § 12102(2) and the regulations implementing the ADA set

  forth at 28 CFR §§ 36.101 et seq.

         28. Petersen is legally blind, and a member of a protected class under the ADA. Whereby,

  she has a disability within the meaning of 42 U.S.C. § 12102(1)-(2), the regulations implementing

  the ADA set forth at 28 CFR §§ 36.101 et seq. and in 42 U.S.C. 3602, §802(h). Plaintiff was

  diagnosed with congenital glaucoma in both eyes by UM Health- Bascom Palmer Eye Institute, and

  consequently, is legally blind and the visual disability is permanent. Plaintiff is a legally blind

  individual who has a physical impairment that substantially limits the major life activity of seeing.

  Accordingly, she has a disability within the meaning of 42 U.S.C. § 12102 and 28 C.F.R. § 35.104.

  Plaintiff is a qualified individual with a disability within the meaning of 42 U.S.C. § 12131(2), 29

  U.S. Code § 794 and 28 C.F.R. § 35.104.

         29. Defendant ZUMIEZ owns, operates and maintains multiple stores called ZUMIEZ,

  within the Southern District of Florida, either through franchisees, affiliates, partners or other

  entities. Defendant’s store sells ZUMIEZ clothing to the public. Defendant also offers those items to

  the public through its mobile app. Defendant’s store and accompanying mobile app work collectively

  and are public accommodations pursuant to 42 U.S.C. § 12181(7)(E).

                                                FACTS

         30. Defendant is defined as a “Place of Public Accommodation" within meaning of Title III

  because Defendant is a private entity which owns and/or operates “[A] bakery, grocery store,

  clothing store, hardware store, shopping center, or other sales establishment,” 42 U.S.C.

  §12181(7)(E) and 28 C.F.R. §36.104(5).

         31. Each of Defendant ZUMIEZ’s stores are open to the public and each is a Place of Public

  Accommodation subject to the requirements of Title III of the ADA and its implementing regulation




                                                 7
Case 1:20-cv-24959-CMA Document 1 Entered on FLSD Docket 12/03/2020 Page 8 of 16




  as “[A] … other sales establishment,” as defined by 42 U.S.C. §12181(7)(E); §12182, and 28 C.F.R.

  Part 36.

         32. ZUMIEZ’s stores offer for sale to the general public fashion clothing, shoes and

  accessories.

         33. Defendant’s mobile application is offered by Defendant as a way for the public to

  communicate with ZUMIEZ merchandise. Defendant’s mobile app also permits the general public

  to receive rewards and earn points, order and purchase casual clothing, , provides information about

  its products, and (among other things) provides: customer service, locate stores, access to events, buy

  clothing with points earned through the reward program.

  34. A mobile app is a program that is downloaded and installed onto a user's mobile device, whereas

  a website is a site (place) on the internet where users visit it. The mobile application is saved on the

  smartphone, and in most cases an internet connection is optional in order to work. Both are ways of

  digital communication between the business and the users. A mobile app remains on the user's

  smartphone and is therefore ideal for frequent and repeated communication. Mobile app push

  notifications are small messages that pop up in a user's status bar to let them know about an

  upcoming deal, reminders, and more. Push notifications are very convenient way successful way for

  business to reach and monetize their customers.

  35. A blind person may give permission or consent to geolocation, push notifications and user’s data

  sharing to third party if the mobile application is accessible to screen-reader (audio voice unable).

         36.     The mobile application is an integral part of the goods and services offered by

  Defendant’s store, because Defendant’s mobile app and its physical stores are heavily integrated,

  since the mobile application allows the public the ability to locate Defendant’s stores, retail locations

  and sells merchandise.




                                                    8
Case 1:20-cv-24959-CMA Document 1 Entered on FLSD Docket 12/03/2020 Page 9 of 16




         37. The mobile application is an extension of defendant’s physical stores. By this nexus,

  between the store and the mobile application is characterized as a Place of Public Accommodation

  pursuant to Title III, 42 U.S.C. §12181(7)(E) of the ADA.

         38. Defendant has control over its mobile application content, design and source-code.

  Defendant’s mobile app has a nexus to a place of public accommodation pursuant to 42 U.S.C. §

  12181(7)(E). Therefore, under the ADA, Defendant must ensure that individuals with disabilities

  have access to full and equal enjoyment of the goods and services offered on its app.

         39.Blind and visually impaired individuals may access mobile apps by using accessibility

  features in conjunction with screen reader software that converts text to audio. Screen reader

  software provides the primary method by which a visually impaired person may independently use

  the internet. Unless the app is developed and designed with Accessibility features to be accessed

  with screen reader software, visually impaired individuals are unable to fully access app and the

  information, products, and services available through the app.

         40. There are specific guidelines in place endorsed by the US Department of Justice in

  numerous U.S. District Courts. The international internet standards organization, W3C, has

  published WCAG 2.1 A (Web and mobile Content Accessibility Guidelines). WCAG 2.1 provides

  widely accepted guidelines for making mobile apps accessible to individuals with disabilities and

  compatible with screen reader software.

         41. Plaintiff is legally blind and uses an iPhone that comes with “Voiceover” and Android

  “Talkback” screen reader (audio) feature in order to access internet mobile applications’ content.

  Plaintiff’s software is the most popular screen reader software utilized worldwide by visually

  impaired individuals for mobile phones.




                                                  9
Case 1:20-cv-24959-CMA Document 1 Entered on FLSD Docket 12/03/2020 Page 10 of 16




         42. Despite attempts, Defendant’s mobile app did not fully integrate with Plaintiff’s mobile

  phone Accessibility screen-reader, nor was there any function within the app to permit access for

  visually impaired individuals through other means. Her shopping attempts were rendered futile

  because the app was inaccessible. Therefore, Plaintiff was denied the full use and enjoyment of the

  goods and services available on Defendant’s app as a result of access barriers on the mobile app. For

  example, product image description of most several images is unavailable; touch target is too small,

  poor contrast; upper menu tab Rewards has audio “button” and Earn Points audio is “button”; menu

  bar at bottom has audio “tap bar 2 out3”, “3out4”; banners and images have no readable label;

  camera to scan barcodes have no guidance to assist blinds to center the barcode in the camera scan;

  shop online in the website from mobile app redirect to website but is incompatible with mobile

  phone screen-reader, thus multiple clickable items share same location in the screen adding to

  confusion and inaccessibility.

         43. Defendant’s mobile application does not meet the WCAG 2.1 A level of accessibility.

  The mobile application should be accessible by keyboard only (no mouse or other pointing device).

  Video without accessible controls. Multiple issues were found including: submits a form with errors

  then the error message(s) is visually displayed but is neither announced nor given keyboard-focus;

  mobile app buttons do not have the proper roles and are not accessible to “Voiceover”(iPhone) and

  “Talkback” (Android phone).

  44. By failing to adequately design and program its mobile application to accurately and sufficiently

  integrate with mobile screen-readers, Defendant has discriminated against Plaintiff and others with

  visual impairments on the basis of a disability by denying them full and equal enjoyment of the app,

  in violation of 42 U.S.C. § 12182(a) and C.F.R. § 36.201.




                                                 10
Case 1:20-cv-24959-CMA Document 1 Entered on FLSD Docket 12/03/2020 Page 11 of 16




  45. As a result of Defendant’s discrimination, Plaintiff was unable to use Defendant’s mobile

  application and suffered an injury in fact including loss of dignity, discrimination, and other tangible

  and intangible injuries.

  46. The barriers on the mobile application have caused a denial of Plaintiff’s full and equal access

  multiple times in the past, and now deter Plaintiff from attempting to use Defendant’s mobile app.

                               AMERICAN WITH DISABILITIES ACT

         47. The failure to access the information needed precluded Plaintiff’s ability to patronize

  ZUMIEZ’s stores because, as a blind individual, Plaintiff needs to plan her outings out in detail in

  order to have the proper financing for a venture, and insure that she arrives at a given location.

         48. Technology evolves, in these days, consumers are doing most of their shopping online.

  Defendant’s provision of an e-commerce mobile application is an essential part of the services

  offered and is no different than the customer service to the public as part of ZUMIEZ’s stores

  services, privileges and benefit to the public.

         49. Title III ADA Part 36 regulation was amended to integrate section 36.303 Auxiliary Aids

  and Services “A public accommodation shall furnish appropriate auxiliary aids and services where

  necessary to ensure effective communication with individuals with disabilities.”

          50. By this nexus, the Defendant’s mobile application is characterized as an intangible

  service, privilege and advantage provided by ZUMIEZ’s stores a Place of Public Accommodation as

  defined under the ADA, and thus its mobile application is an extension of ZUMIEZ’s services,

  privileges and advantages made available to the general public by Defendant through its retail brick

  and mortar stores.

         51. All Public Accommodations must ensure that their Places of Public Accommodation

  provide Effective Communication for all members of the general public, including individuals with




                                                    11
Case 1:20-cv-24959-CMA Document 1 Entered on FLSD Docket 12/03/2020 Page 12 of 16




  disabilities. Binding case law increasingly recognize that private entities are providing goods and

  services to the public through the mobile application that operate as “Places of Public

  Accommodation” under Title III.

         52. A person who cannot see, like the Plaintiff in this case, cannot go to Defendant’s mobile

  app and avail themselves of the same privileges. Thus, the Plaintiff has suffered discrimination due

  to Defendant’s failure to provide a reasonable accommodation for Plaintiff’s disability.

         53. Notice to Defendant is not required as a result of Defendant’s failure to cure the

  violations.

         54. Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28 U.S.C. §§

  2201 and 2202 and Title III ADA Subpart E Section 36.501.

         55. Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also includes,

  among other things: a failure to make reasonable modifications in policies, practices or procedures,

  when such modifications are necessary to afford such goods, services, facilities, privileges,

  advantages or accommodations to individuals with disabilities, unless the entity can demonstrate that

  making such modifications would fundamentally alter the nature of such goods, services, facilities,

  privileges, advantages or accommodations; and a failure to take such steps as may be necessary to

  ensure that no individual with a disability is excluded, denied services, segregated or otherwise

  treated differently than other individuals because of the absence of auxiliary aids and services, unless

  the entity can demonstrate that taking such steps would fundamentally alter the nature of good,

  service, facility, privilege, advantage or accommodation being offered or would result in an undue

  burden. 42U.S.C. § 12182(b)(2)(A)(ii) (iii); see also 28 C.F.R. § 36.303(a). Title III requires that

  “[a] public accommodation shall furnish appropriate auxiliary aids and services where necessary to

  ensure effective communication with individuals with disabilities.” 28 C.F.R. § 36.303(c)(1). The




                                                  12
Case 1:20-cv-24959-CMA Document 1 Entered on FLSD Docket 12/03/2020 Page 13 of 16




  regulations set forth numerous examples of “auxiliary aids and services,” including “…accessible

  electronic and information technology; or other effective methods of making visually delivered

  materials available to individuals who are blind or have low vision.” 28 C.F.R. § 36.303(b).

         COUNT I – VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

         56. Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate subtitle

  A of Title III of the ADA, which prohibits discrimination on the basis of disability by Public

  Accommodations and requires Places of Public Accommodation to be designed, constructed, and

  altered in compliance with the accessibility standards established by Part 36 Regulation.

          57. The acts alleged herein constitute violations of Title III of the ADA, and the regulations

  promulgated thereunder. Plaintiff, who is legally blind and has a disability that substantially limits

  the major life activity of seeing within the meaning of 42 U.S.C. §§12102(1)(A) and (2)(A), has

  been denied full and equal access to Defendant’s app. Plaintiff has not been afforded the goods,

  services, privileges and advantages that are provided to other patrons who are not disabled, and/or

  has been provided goods, services, privileges and advantages that are inferior to those provided to

  non-disabled persons. These violations are ongoing as Defendant has failed to make any prompt and

  equitable changes to its app and policies in order to remedy its discriminatory conduct.

         58. Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs alleged

  hereinabove and this suit for injunctive relief is her only means to secure adequate redress from

  Defendant’s unlawful and discriminatory practices.

         59. Unlawful discrimination includes “a failure to make reasonable modifications in policies,

  practices, or procedures, when such modifications are necessary to afford such goods, services,

  facilities, privileges, advantages, or accommodations to individuals with disabilities, unless the entity




                                                   13
Case 1:20-cv-24959-CMA Document 1 Entered on FLSD Docket 12/03/2020 Page 14 of 16




  can demonstrate that making such modifications would fundamentally alter the nature of such goods,

  services, facilities, privileges, advantages or accommodations.” 42 U.S.C. § 12182(b)(2)(A)(II).

         60. Unlawful discrimination also includes “a failure to take such steps as may be necessary to

  ensure that no individual with a disability is excluded, denied services, segregated or otherwise

  treated differently than other individuals because of the absence of auxiliary aids and services, unless

  the entity can demonstrate that taking such steps would fundamentally alter the nature of the good,

  service, facility, privilege, advantage, or accommodation being offered or would result in an undue

  burden.” 42 U.S.C. § 12182(b)(2)(A)(III).

         61. Defendant is in violation of the ADA by creating barriers for individuals with disabilities

  who are visually impaired and who require the assistance of interface with screen reader software to

  comprehend and access digital mobile applications. These violations are ongoing.

         62. Plaintiff has retained the law office of Acacia Barros, Esq. and has agreed to pay a

  reasonable fee for services in the prosecution of this cause, including costs and expenses incurred.

  Plaintiff is entitled to have reasonable attorneys’ fees, costs and expenses paid by Defendant

  ZUMIEZ.

                                        PRAYER FOR RELIEF

         WHEREFORE, Plaintiff Aishia Petersen hereby prays judgment against Defendant

  ZUMIEZ, INC. and requests the following injunctive relief permanently enjoin Defendant from any

  practice, policy and/or procedure which will deny Plaintiff equal access to, and benefit from

  Defendant’s services and goods, as well as the Court:

                 a. A Declaratory Judgment that at the commencement of this action Defendant was in

  violation of the specific requirements of Title III of the ADA described above, and the relevant

  implementing regulations of the ADA, in that Defendant took no action that was reasonably




                                                  14
Case 1:20-cv-24959-CMA Document 1 Entered on FLSD Docket 12/03/2020 Page 15 of 16




  calculated to ensure that its mobile application is fully accessible to, and independently usable by,

  blind individuals;

                 b. A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §

  36.504(a) which directs Defendant to take all steps necessary to brings its app into full compliance

  with the requirements set forth in the ADA, and its implementing regulations, so that its app is fully

  accessible to, and independently usable by, blind individuals, and which further directs that the Court

  shall retain jurisdiction for a period to be determined to ensure that Defendant has adopted and is

  following an institutional policy that will in fact cause Defendant to remain fully in compliance with

  the law;

                 c. That the Court enter an Order directing Defendants to continually update and

  maintain their mobile application to ensure that it remains fully accessible to and usable by visually

  impaired individuals;

                 d. That the Court enter an award of attorney’s fees, costs and litigation expenses

  pursuant to 42 U.S.C. § 12205; and Title III of the ADA Section § 36.505, and

                 e. The provision of whatever other relief the Court deems just, equitable and

  appropriate.



  Dated this 3rd day of December 2020.

                                                       s/Acacia Barros
                                                       Attorney for Plaintiff
                                                       ACACIA BARROS, P.A.
                                                       Acacia Barros, Esq.
                                                       FBN: 106277
                                                       11120 N. Kendall Dr., Suite 201
                                                       Miami, Florida 33176
                                                       Tel: 305-639-8381
                                                       ab@barroslawfirm.com




                                                  15
Case 1:20-cv-24959-CMA Document 1 Entered on FLSD Docket 12/03/2020 Page 16 of 16




                                  CERTIFICATE OF SERVICE

              I hereby certify that on this 3rd day of December 2020 that the foregoing document has

  been filed using CM/ECF system and will    be served via email when Defendant/Defendant’s

  counsel enters an appearance.

                                                     /s/Acacia Barros
                                                     Attorney for Plaintiff
                                                     ACACIA BARROS, P.A.




                                                16
